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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK



 In re ORLY GENGER,                                        Chapter 7
                                                           Case No. 19-13895 (JLG)

                             Debtor.
                                                           Certificate of Service




        The undersigned hereby certifies that on the 1st of July, 2020, I served the Reply in Further
Support of the Motion of the Orly Genger Trust, by its Trustee Michael Oldner, Recovery Effort,
Inc., and Manhattan Safety Maine, Inc. for the Entry of an Order Confirming that the Automatic
Stay does not Apply to Certain Non-Bankruptcy Litigations (dkt. no. 280, filed June 30, 2020), via
electronic mail, addressed as follows:

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                                               /s/ Adam Pollock
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